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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO


 IMO INVESTMENT S.E., ET AL.,

        Plaintiffs,
                                                  Civil No. 16-3150 (SEC)
                      v.

 UNITED STATES OF AMERICA, ET
 AL.,

         Defendants.




                            OPINION AND ORDER


        The plaintiffs—one prisoner and five non-prisoners—filed this action in forma
pauperis. The Court dismisses the complaint as frivolous after an initial screening
pursuant to 28 U.S.C. §§ 1915A & 1915(e)(2)(B).

   I.      Factual and Procedural Background

        Israel Santiago-Lugo was convicted in 1996 of engaging in a continuing criminal
enterprise—the distribution of narcotics throughout Northern Puerto Rico over a seven-
year period—in violation of 18 U.S.C. § 2 and 21 U.S.C. § 848, for which he received
a life sentence. He was also convicted of an additional forty-one counts, for which he
received concurrent ten-year sentences as to each count, and two counts of forfeiture
under 18 U.S.C. § 982 and 21 U.S.C. § 853.

        Santiago-Lugo has challenged his convictions a number of times, in different
courts, to no avail. See e.g. Santiago-Lugo v. United States, 559 U.S. 1002 (2010)
(denying leave to proceed in forma pauperis, dismissing petition for writ of certiorari,
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and directing Clerk not to accept any further petitions in non-criminal matters from
petitioner unless docketing fee paid, due to repeated abuse of the Supreme Court’s
process); Santiago–Lugo v. Warden, FCC Coleman–USP–1, 392 Fed. Appx. 675 (11th
Cir. Aug. 4, 2010) (affirming denial of Rule 60(b) motion for relief from summary denial
of § 2241); Santiago–Lugo v. Tapia, 188 Fed. Appx. 296 (5th Cir. July 12, 2006)
(dismissing § 2241 petition purportedly filed pursuant to “savings clause” of 28 U.S.C.
§ 2255); United States v. Santiago–Lugo, 167 F.3d 81 (1st Cir. 1999) (affirming
convictions on direct appeal); Santiago–Lugo v. United States, 2011 WL 1979858
(D.P.R. May 20, 2011) (denying petition for “writ of error coram nobis or, in the
alternative, a writ of audita querela” as a successive § 2255 motion for which petitioner
had not obtained permission from the First Circuit Court of Appeals); Santiago–Lugo v.
United States, 2009 WL 2513605 (D.P.R. Aug. 13, 2009) (denying certificate of
appealability from a denial of a successive § 2255 motion because petitioner had not
obtained permission from First Circuit Court of Appeals); Santiago–Lugo v. United
States, 135 F. Supp. 2d 142 (D.P.R.2001) (denying motion to reconsider denial of §
2255 motion).

       More recently, in 2015, the Honorable Judge Fusté noted that since Santiago-
Lugo’s conviction and sentencing, he has filed numerous frivolous “direct and collateral
attacks and challenges to the disposition of his criminal conviction.” Santiago-Lugo v.
U.S., 94 F. Supp. 3d 156, 158 (D.P.R. 2015) (collecting cases filed by Santiago-Lugo
and stating that “[t]here comes a point in time where frivolous collateral litigation must
stop”). Using its “discretionary powers to regulate the conduct of abusive litigants,” id.
(quoting Cok v. Fam. Ct. of R.I., 985 F.2d 32, 34 (1st Cir. 1993)), Judge Fusté enjoined
Santiago-Lugo from filing new law suits unless he complied with the following order:

       1. He must submit to the Clerk of Court his proposed filing, be it a motion,
       pleading or other filing, and he must attach a copy of this Order to it as an
       exhibit.
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           2. As a second exhibit to any such proposed filing, he also shall attach a
           declaration which has been prepared pursuant to 28 U.S.C. § 1746 or a
           sworn affidavit certifying that (1) the document raises a new issue which
           he has not previously raised in this or any other court, (2) the claim or
           issue is not frivolous, and (3) the document is not filed in bad faith.
           3. By means of a third exhibit, he shall identify and list: (a) the full caption
           of each and every suit which he previously filed or which was filed on his
           behalf in any court against each and every defendant in any new suit he
           wishes to file, and (b) the full caption of each and every suit which he
           currently has pending.
           4. As a fourth exhibit to the motion, he must provide a copy of each
           complaint identified and listed in accordance with the foregoing paragraph
           3 and a certified record of its disposition.
           If Petitioner fails to comply with the terms of this Order, the Clerk of Court
           shall refuse to file the proposed filing. Santiago–Lugo's failure to comply
           with the terms of this Order may be considered an act of contempt for
           which he may be punished accordingly.
Santiago-Lugo, 94 F. Supp. 3d at 158; see also Gordon v. U.S. Dept. of Justice, 558 F.2d
618, 618 (1st Cir. 1977) (“The law is well established that it is proper and necessary for
an injunction to issue barring a party, such as appellant, from filing and processing
frivolous and vexatious lawsuits”).

           Once again, Santiago-Lugo impermissibly mounts a collateral attack on his
conviction through a civil suit. Because he failed to comply with Judge Fuste’s order,
his claims should be dismissed at the outset. But that would not end the matter because
this time he did not file alone. Santiago-Lugo is joined by five additional plaintiffs: three
of his sons; Celenia Reyes-Padilla (convicted of similar charges by the same jury that
convicted Santiago-Lugo); and IMO Investment S.E. (Santiago-Lugo’s inactive
corporation which appeared as a claimant in civil forfeiture proceedings that were
ultimately dismissed after the properties object of the dispute were criminally
forfeited).1


1
    See USA v. One Rural Lot #11, et al., Civ. No. 93-1955, at ECF Nos. 152 & 154.
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       Plaintiffs filed the complaint against every person and entity remotely involved
in Santiago-Lugo’s and Reyes-Padilla’s arrest, prosecution, sentencing, appeal, and
post-conviction petitions, and those involved in the forfeiture proceedings. These
include agents from the DEA, IRS, U.S. Marshalls, and the Bureau of Prisons; federal
judges, prosecutors, public defenders, and probation officers; Puerto Rico police officers
and prosecutors; previous creditors of Santiago-Lugo regarding the forfeited properties;
and his own defense attorneys. Federal jurisdiction is purportedly grounded under the
Federal Tort Claims Act, 28 U.S.C. § 1346 (b) (FTCA), the cause of action recognized
by the Supreme Court in Bivens v. Six Unknown Agents, 403 U.S. 388 (1971), and 42
U.S.C. § 1983.

       Given the frivolous nature and length of the complaint—Plaintiffs named one
hundred and ten (110) defendants in a complaint that spans forty-nine (49) pages with
three-hundred and thirty-two (332) paragraphs—the Court will not waste judicial
resources providing a detailed summary of the allegations contained therein. A few
examples suffice to provide the necessary context and jettison all of Plaintiffs’ claims.

       In essence, Santiago-Lugo and Reyes-Padilla claim false arrest and
imprisonment, and unlawful deprivation of property as a result of the defendants’
alleged willful and negligent conduct. Plaintiffs posit, for example, that federal and state
law enforcement agents lied during the investigation that led to their arrest and the
seizure of their property in violation of their constitutional rights. They also claim that
the federal prosecutors colluded with the defense attorneys to secure their conviction.
The federal judges from the District of Puerto Rico and the First Circuit Court of
Appeals, Plaintiffs allege, are liable in their individual and official capacity for affirming
Plaintiffs’ convictions and denying Santiago-Lugo’s successive petitions for post-
conviction relief. Furthermore, according to Plaintiffs, the Assistant United States
Attorneys that opposed Santiago-Lugo’s post-conviction petitions are also liable.
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         The Court dismisses sua sponte all of Plaintiffs’ claims as frivolous. First,
Santiago-Lugo’s and Reyes-Padilla’s claims are wholly foreclosed by the Supreme
Court decision in Heck v. Humphrey, 512 U.S. 477 (1994). Also, because the claims of
his sons and of IMO Investments, S.E. are derivative of Santiago-Lugo’s, they share the
same fate.

   II.       Standard of Review

         When, as here, a prisoner like Santiago-Lugo “seeks redress from a governmental
entity or officer or employee of a governmental entity,” a court must screen and dismiss
a complaint if it finds that the complaint “(1) is frivolous, malicious, or fails to state a
claim upon which relief may be granted; or (2) seeks monetary relief from a defendant
who is immune from such relief.” 28 U.S.C. § 1915A. The same is true for prisoners
and non-prisoners who proceed in forma pauperis, regardless of whether the claims are
against the government. See 28 U.S.C. § 1915(e)(2)(B); Street v. Fair, 918 F.2d 269,
272–73 (1st Cir. 1990) (an opportunity to be heard need not accompany sua sponte
dismissals for frivolousness under § 1915); Rowe v. Shake, 196 F.3d 778, 783 (7th Cir.
1999) (“district courts have the power to screen complaints filed by all litigants,
prisoners and non-prisoners alike, regardless of fee status”).

         A complaint that fails to state a claims, is not, for that reason alone, automatically
frivolous. A complaint is frivolous if it “lacks an arguable basis either in law or in fact.”
Street, 918 F.2d at 272–73. That is, should the complaint consist of “either ‘inarguable’
legal conclusions or ‘fanciful’ factual allegations,” id., the same must be dismissed as
frivolous. For example, claims in “which it is clear that the defendants are immune from
suit” and “claims describing fantastic or delusional scenarios” are clearly frivolous. Id.
(quoting Neitzke v. Williams, 490 U.S. 319, 327 (1989)).
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   III.     Applicable Law and Analysis

       In Heck, the Supreme Court held that a plaintiff cannot bring a § 1983 action that
“would necessarily imply the invalidity of his conviction or sentence,” unless he proves
“that the conviction or sentence has been reversed on direct appeal, expunged by
executive order, declared invalid by a state tribunal authorized to make such
determination, or called into question by a federal court’s issuance of a writ of habeas
corpus.” 512 U.S. at 484. “The holding in Heck bars such actions, whether brought under
Bivens or the FTCA.” Bradshaw v. Jayaraman, 205 F.3d 1339 (6th Cir. 1999)
(unpublished), 1999 WL 1206870, at *2; Swan v. Barbadoro, 520 F.3d 24, 26 (1st Cir.
2008) (dismissing an appeal as frivolous under 28 U.S.C. § 1915 holding that “Heck’s
bar cannot be circumvented by substituting a supposed RICO action for the earlier
Bivens claims ineffectually designed for the same purpose”).

       In the instant case, Heck bars all of Plaintiff’s claims because the success on any
of them would necessarily imply the invalidity of Santiago-Lugo’s and Reyes-Padilla’s
convictions, and the invalidity of the Special Forfeiture Verdict. See e.g. McGee v.
United States, Civ. No. 08-154, 2009 WL 909589, at *4 (W.D. Mich. Mar. 31, 2009)
(explaining that Heck bars challenges to criminal forfeiture conviction even if it does
not bar challenges to civil forfeiture judgments); Campbell v. Putnam, 38 F. App’x 298,
300 (6th Cir. 2002) (barring the plaintiff’s civil rights’ suit—including a claim for the
return of funds object of a forfeiture action—as it would imply the invalidity of his
conviction). This is also true for the derivative claims brought by Santiago-Lugo’s sons
and IMO Investment, S.E. See e.g. Ehlers v. United States Navy, 2016 WL 1592478, at
*3 (D. Minn. 2016) (“The exact same logic compelling dismissal of Edwin’s Heck-
barred claims will apply to Angela’s derivative loss-of-consortium claim; Angela cannot
succeed on that claim because it necessarily implies the invalidity of Edwin’s
conviction.”)
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         Moreover, Plaintiffs’ claims are clearly frivolous. Not only because they are
barred by Heck, see Parra v. State of N.H., 40 F.3d 1235 (1st Cir. 1994) (“Parra’s
remaining § 1983 claims are foreclosed by Heck and are therefore frivolous”),2 but also
because they are asserting claims against government officials that are immune from
suit such as the federal judges and prosecutors who participated in Plaintiffs’ criminal
proceedings. 28 U.S.C. §§ 1915A & 1915(e)(2)(B). On the other hand, their complaint
consists of “inarguable legal conclusions” and “fanciful factual allegations.” Also,
Plaintiffs failed to exhaust administrative remedies for their purported FTCA claim,
Velez-Diaz v. United States, 507 F.3d 717, 718 (1st Cir. 2007) (“Under the FTCA, a
court suit filed before exhaustion does not ripen but is barred”), and their claims
regarding the forfeited properties are time-barred. See Santiago-Lugo v. United States,
538 F.3d 23, 24 (1st Cir. 2008).

         Finally, the Court notes that this is at least the third time that an action or appeal
filed by Santiago-Lugo has been dismissed as frivolous. See Santiago-Lugo v. Tapia,
188 Fed. Appx. 296, 298, (5th Cir. 2006) (“the appeal from the denial of rule 60(b) is
frivolous”); Santiago-Lugo, 94 F. Supp. 3d at 158 (denying a motion for leave to appeal
in forma pauperis noting that “[c]learly, Santiago-Lugo’s appeal [was] frivolous…Over
and over again, [Santiago-Lugo] attempts to relitigate issues that have already been
decided not only by this court, but by the appellate court as well”). This being his third
strike, Santiago-Lugo forever barred from filing an action in forma pauperis unless he
is “under imminent danger of serious physical injury.” 28 U.S.C. § 1915(g).




2
  See also Swan v. Barbadoro, 520 F.3d 24, 26 (1st Cir. 2008); Grady v. Aud, 92 F.3d 1189 (8th Cir. 1996)
(unpublished table disposition) (affirming dismissal of action as frivolous pursuant to Heck); Rodriguez v. Salus,
623 Fed. Appx. 588, 589–90 (3d Cir. 2015) (per curiam) (same); Jefferson v. Longino, 558 Fed. Appx. 414 (5th
Cir. 2014) (same).
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   IV.      Conclusion

         All of Plaintiffs’ claims are dismissed as frivolous. The Clerk of the Court shall
not docket any further action brought by Santiago-Lugo or any suit in which Santiago-
Lugo appears as a plaintiff unless the filing fee is prepaid in its entirety, or the complaint
contains an affidavit attached that states specific facts showing that he is under imminent
danger of serious physical injury.

         IT IS ORDERED.

         In San Juan, Puerto Rico, this 13th day of March, 2018.

                                                    s/Daniel R. Domínguez
                                                    Daniel R. Domínguez
                                                    U.S. Senior District Judge
